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 8                      UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
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11 Bureau of Consumer Financial Protection;   Case No. 8:19-cv-01998-MWF (KSx)
   et al.,
12                                            [PROPOSED] ORDER
                     Plaintiffs,              APPROVING SETTLEMENT
13                                            AGREEMENTS WITH NON-
           v.                                 PARTIES (1) NATIONAL
14                                            MERCHANT CENTER, INC. AND
   Consumer Advocacy Center Inc., d/b/a       (2) SHIH-HAO LAI AKA JIMMY
15 Premier Student Loan Center; et al.,       LAI AND SWIFT PAYMENTS
16                   Defendants.
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                                                Case No. 8:19-cv-01998-MWF (KSx)
                                   ORDER APPROVING SETTLEMENT AGREEMENTS
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 1        Thomas W. McNamara, as Court-appointed receiver, has applied to the
 2 Court for approval of the Settlement Agreements with Non-Parties (1) National
 3 Merchant Center, Inc. (“NMC”); and (2) Shih-Hao Lai aka Jimmy Lai and Swift
 4 Payments (collectively, “Lai”).
 5        Having reviewed the motion of the Receiver, the Settlement Agreements
 6 attached to the motion, and for good cause shown,
 7        IT IS HEREBY ORDERED that the Settlement Agreements are hereby
 8 APPROVED. The Court shall retain jurisdiction over the interpretation and
 9 enforcement of the agreements.
10        IT IS SO ORDERED.
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12 Dated:
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14                                       Hon. Michael W. Fitzgerald
                                         United States District Judge
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                                          1       Case No. 8:19-cv-01998-MWF (KSx)
                                     ORDER APPROVING SETTLEMENT AGREEMENTS
